
*41ON MOTION FOR REHEARING
PER CURIAM.
Appellant has filed a motion requesting rehearing of our affirmance of the trial court’s denial of alimony and of the trial court’s award as to child support. As to the alimony issue, we deny rehearing.
We grant appellant’s motion as to the child support issue, and hereby amend the opinion previously issued as to that point. Consistent with our findings pertaining to attorney’s fees, it appears that in the determination of appellee’s monthly income, the trial court did not take into account the appellee’s expense account for entertainment, as well as the reimbursements he receives for automotive expenses.
Therefore, in regard to appellee’s monthly income we reverse the trial court’s determination as to child support, and remand that issue to be reconsidered in light of the overlooked matters.
BOOTH, JOANOS, and WOLF, JJ„ concur.
